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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


  VIXICOM, LLC,


          Movant,

  vs.                                                  CASE NO.: 16-CV-00703-MSS/JSS

  FOUR CORNERS DIRECT, INC.,

        Respondent.
  _____________________________________/

           CERTIFICATE OF SERVICE PURSUANT TO FLA. STAT. § 77.041

          Movant/Garnishor, Vixicom, LLC, by and through its undersigned counsel and

  pursuant to Florida Statutes § 77.041(2), hereby certifies that on July 7, 2016, true and

  correct copies of following were served via certified First Class US Mail on

  Respondent/Judgment Debtor Four Corners Direct, Inc., Martin A. Lothman, Registered

  Agent, 7417 Sanderling Road, Sarasota, FL 34242: Ex Parte Motion for Issuance of Writ of

  Garnishment [ECF No. 12], Order on Ex Parte Motion for Issuance of Writ of Garnishment

  [ECF No. 13], the Writ of Garnishment [ECF No. 14], Motion to Require Completion of

  Florida Rule of Civil Procedure Form 1.977(b) Fact Information Sheet (which includes a

  copy of the fact information sheet) [ECF No. 3], and the Order granting ECF No. 3 [ECF No.

  15]. 

                                CERTIFICATE OF SERVICE
          I hereby certify that on July 7, 2016, this document was filed via CM/ECF with the

  Clerk of Court, which will electronically serve a notice on all counsel and parties of record so




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  authorized to receive. I also certify that this document was served via certified US Mail on

  Martin A. Lothman, Registered Agent, 7417 Sanderling Road, Sarasota, FL 34242, via

  certified US Mail.

                                                     By: s/Daniel A. Krawiec
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